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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                     )
                                                         )
                                                         )
                  Plaintiff,                             )
                                                         )
 v.                                                      )    Case No. 4:17-cv-00454-GKF-JFJ
                                                         )
 1) CASTLE HILL STUDIOS LLC                              )    REDACTED
    (d/b/a CASTLE HILL GAMING);                          )
 2) CASTLE HILL HOLDING LLC                              )
    (d/b/a CASTLE HILL GAMING); and                      )
 3) IRONWORKS DEVELOPMENT, LLC                           )
    (d/b/a CASTLE HILL GAMING)                           )
                                                         )
                  Defendants.                            )



          PLAINTIFF VIDEO GAMING TECHNOLOGIES, INC.’S OPPOSITION TO
       DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE EVIDENCE OF DOCUMENTS
          AND MATERIALS ALLEGEDLY TAKEN BY FORMER VGT EMPLOYEES

             Discovery in this case revealed that a number of former employees of Plaintiff Video

      Gaming Technologies, Inc. (“VGT”) hired by Defendants Castle Hill Studios LLC, Castle Hill

      Holdings LLC, and Ironworks Development LLC (collectively, “CHG”) took or retained VGT

      property following their departure from VGT. The misappropriation included VGT source code,

      an email archive, a VGT development station containing VGT game math, a hard drive

      containing proprietary art files, physical slot machine components, and a proprietary VGT lease

      agreement that a CHG officer took from VGT                                                And

      these materials and information are only what VGT could find based on emails and what the

      employees were willing to admit in their depositions.

             CHG has offered various excuses for this misconduct. After initially declining even to

      say whether or not it had any VGT materials, CHG eventually asserted that it was “unaware” of
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   VGT materials in its possession. But that turned out to be wrong. The CHG officer who made

   this statement “under the penalties of perjury,” Jason Sprinkle,




                                                        Remarkably, and without acknowledging this

   testimony, CHG’s motion in limine to exclude evidence of materials taken by former VGT

   employees (Dkt. 160, “Motion”) continues to make the same “incorrect” assertion—i.e., denying

   any “personal knowledge” of VGT materials in its possession. Mot. at 1 n.1. Aside from

   contradicting its own 30(b)(6) witness, CHG’s Motion suggests it has not bothered to ask its

   employees if they took anything from VGT (notwithstanding its obligation to conduct a

   reasonable inquiry). Perhaps CHG does not want the answer.

          Regardless, CHG’s attempt to bury its head in the sand is unavailing. CHG cannot

   credibly assert that the use of misappropriated VGT materials by CHG’s own employees,

   including at least one officer (Mr. Sprinkle), “do[es] not reflect any wrongdoing by CHG itself.”

   Mot. at 5. CHG is a small company and knows that many of its employees worked at VGT—

   indeed, that is why they were hired.



   This plan permeated the company, with the officers setting a culture of copying VGT games and

   routinely discussing information from VGT.




   1
     Citations to Exhibit A-Q are to the exhibits attached to CHG’s Motion (Dkt. 160); all citations
   to Exhibits R-JJ are to the accompanying Declaration of Peter Swanson.

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                                                                                                 In

   these circumstances, CHG cannot claim ignorance regarding its employees’ conduct.

          CHG’s last-ditch argument that the materials have no relation to VGT’s claims for

   misappropriation of trade secrets and confidential information reflects a fundamental

   misunderstanding of those claims, which center on CHG’s repeated and pervasive use of

   confidential VGT information in developing CHG’s games. The confidential materials taken by

   the former VGT employees are evidence of specific acts of misappropriation and, more broadly,

   CHG’s intent to misuse VGT’s proprietary information. In short, they directly undermine

   CHG’s position that the case is about “remembered information.” CHG’s Mot. Summ. J. (Dkt.

   184) at 49; see also id. at 47 (“VGT does not allege that Castle Hill ‘stole’ anything directly from

   VGT.” (emphasis removed)). Although not all materials taken from VGT are confidential, even

   non-confidential materials are relevant to VGT’s trade dress claims because they were used to

   copy the look and feel of VGT’s games.

   I.     BACKGROUND

          At the outset of discovery, VGT served an interrogatory asking Defendants to “[d]escribe

   all information, Documents, and Things in Your Possession, custody or control that (a) any

   Former VGT Employee brought from VGT to CHG, (b) were created by or at VGT, or (c) are

   the property of VGT.” Ex. V, Interrogatory No. 13 of Video Gaming Technologies, Inc.’s First

   Set of Interrogatories to Defendants (September 25, 2017).

          CHG’s initial response did not answer this interrogatory. Instead, CHG stated that “none

   of the former VGT employees were asked to bring documents with them, and Castle Hill’s

   practice was and is to tell former VGT employees that they are prohibited from bringing to
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   Castle Hill any documents belonging to Plaintiff.” Ex. W, CHG’s Resp. to First Interrog. at 11

   (November 22, 2017). Mr. Sprinkle verified this response under penalty of perjury. Id. at 12.

          After VGT pointed out that the response did not indicate whether CHG had any VGT

   documents or things, CHG supplemented its response to state that “CHG is unaware of any

   documents in its possession, custody or control that are responsive to this request.” Ex. X,

   CHG’s Am. Resp. to First Interrog. at 12 (February 5, 2018). Mr. Sprinkle also verified this

   response under penalty of perjury. Id. at 13.2

          VGT also served the following request for admission pursuant to Rule 36: “Admit that at

   least one Former VGT Employee took VGT Documents with him/her when leaving VGT.” Ex.

   Y, Request for Admission No. 1 of Video Gaming Technologies, Inc.’s First Set of Requests for

   Admission to Defendants (January 5, 2018). In response, CHG claimed that it had made a

   “reasonable inquiry,” but was “without knowledge or information sufficient to admit or deny

   what every former VGT employee or consultant may or may not have done at the time he or she

   left VGT. On this basis, and without waiver of the foregoing objections, Castle Hill denies this

   request.” Ex. Z, CHG’s Resp. to First Set of Req. for Admis. at 2-3 (February 5, 2018).

          CHG supplemented its response twice, eventually including a description of evidence

   showing that eight former employees took VGT documents or materials with them following

   their employment. See Ex. B at 2–6. For each of the eight employees, some of whom are now

   officers of CHG, CHG denied the request on the ground that it did not have “knowledge or

   information sufficient to admit or deny” whether the employee took VGT documents with him

   when he left VGT. See id.


   2
     VGT served a similar interrogatory that sought an identification of any VGT materials that
   CHG has “ever had” in its possession, custody, or control. Ex. II at 3. CHG provided the same
   response that it is “unaware” of any such materials. Id.

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          CHG’s Rule 30(b)(6) witness was asked about its discovery responses on this subject.




          CHG’s Motion details the evidence of materials taken by former VGT employees, which

   it places into seven categories (hereinafter, the “Misappropriated Materials”). Mot. at 2–4. Yet

   CHG reaffirms the “incorrect,” know-nothing position from its discovery responses—i.e., “CHG

   is without information or knowledge sufficient to admit or deny whether the documents or

   materials were taken or retained when the former VGT employees left VGT.” Id. at 1 n.1.

   II.    ARGUMENT

          CHG moves to exclude evidence of the Misappropriated Materials under Federal Rules of

   Evidence 402 and 403. Although nominally a “motion in limine,” CHG’s Motion effectively

   seeks summary judgment that CHG cannot be held liable for the Misappropriated Materials.

   Contrary to CHG’s arguments, this evidence—which refutes CHG’s refrain that the case is

   limited to “remembered information”—is relevant and admissible.

          A.      The Misappropriated Materials Are Relevant to VGT’s Claims for
                  Misappropriation of Trade Secrets and Confidential Information and Its
                  Claim for Trade Dress Infringement.
                                                   5
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   corporate entity.’” Ciena Commc’ns Inc. v. Nachazel, Civil Action No. 09-cv-02845, 2010 WL

   3489915, at *4 (D. Colo. Aug. 31, 2010) (quoting In re Stat-Tech Sec. Litig., 905 F. Supp. 1416,

   1422 (D. Colo. 1995)) (referring to this as an “unremarkable proposition”); see also Burlington

   N. & Santa Fe Ry. Co. v. Phillips Petroleum Co., 164 F. Supp. 2d 1272, 1276 (N.D. Okla. 2001)

   (“[A corporation] can only act through its officers and employees, and these acts are attributed to

   the corporation under the principles of agency.” (citing Magnum Foods, Inc. v. Cont’l Cas. Co.,

   36 F.3d 1491, 1499 (10th Cir. 1994))).

          VGT is also entitled to use the lease agreement to impeach Mr. Sprinkle. As noted

   above, he stated, under penalty of perjury, that “CHG is unaware of any documents in its

   possession, custody or control” that (a) any former VGT employee brought from VGT to CHG,

   (b) were created by or at VGT, or (c) are the property of VGT. Ex. X at 12.

                                                 —a fact that contradicts his sworn interrogatory

   verification. VGT should be permitted to question Mr. Sprinkle on this inconsistency at trial.

          Development Station (No. 6).




                                       This document thus provides another example of Mr.

   Sprinkle retaining VGT materials and seeking to use them on behalf of CHG (and constitutes

   further evidence that contradicts his sworn interrogatory verification).

          Although CHG points to

                                     , Mot. at 5, that is not binding on the fact-finder, who could

   (and should) credit Mr. Sprinkle’s statement to another CHG officer before litigation

   commenced, over his self-interested assertions during his deposition.



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         CHG is free to offer at trial the witnesses’ stories

                                                                                     , but the fact-

  finder should be permitted to evaluate the credibility of these witnesses. And even if their

  excuses are accepted, their possession of code following their employment with VGT (which is

  not in dispute for Messrs. Suggs and Morgan) makes it more likely that they recalled the contents

  of the code (including the functionality embodied in the code) once they started working for

  CHG.

         Computer Graphics Files (No. 1).




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                  CHG argues that Mr. Milligan never accessed the hard drive after he left VGT

  and never shared the graphics files with CHG, Mot. at 4–5, but the factfinder is free to evaluate

  this self-interested testimony, particularly given the substantial evidence of copying VGT’s

  artwork.

         Reel Strips (No. 3).




         In its Motion, CHG falsely claims that “Mr. Sisson testified that

                                                                                          .” Mot. at 5.

  CHG ignores


  7
    CHG states that VGT has not claimed that its artwork is confidential. Mot. at 6. Although
  public artwork by definition is not confidential, VGT does contend that the computer graphics
  files that Mr. Milligan misappropriated are proprietary. VGT so stated in an interrogatory
  response, Ex. A at 143, which CHG ignores.
  8
   In this context, a reel strip refers to the printed material containing the various symbols (bars,
  cherries, etc.) that appear on a slot machine reel.


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  No. 03 C 6027, 2009 WL 3871823, at *5 (N.D. Ill. Nov. 17, 2009) (finding that “[e]vidence

  concerning the scope and variety of [confidential] information acquired by Defendants may,

  however, be relevant for the purpose of demonstrating Defendants’ possible intent, motive, or

  plan in acquiring the information”); Miller UK Ltd. v. Caterpillar, Inc., No. 10 C 3770, 2013 WL

  474380, at *4 (N.D. Ill. Feb. 7, 2013) (reasoning that “it is difficult to imagine documents more

  relevant to this case than those evidencing Caterpillar’s intent to acquire Miller’s [trade secret]

  information”). Such evidence is also probative of CHG’s opportunity to misappropriate VGT’s

  confidential information, as well as to show the absence of mistake or accident in CHG’s actions.

  See Fed. R. Evid. 404(b)(2) (“This evidence may be admissible for another purpose, such as

  proving motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake,

  or lack of accident.”).

          C.      CHG Cannot Claim Prejudice Based on Its Own Wrongdoing with Respect
                  to the Misappropriated Materials.

          CHG’s argument that the Misappropriated Materials should be excluded under Rule 403

  as unfairly prejudicial and confusing essentially repeats CHG’s relevance arguments—i.e., CHG

  is not responsible for the misappropriation of these materials and they do not reflect trade secret

  or confidential information of VGT, Mot. at 5, 7—and should be rejected for the same reasons.

  Because the Misappropriated Materials are examples of “the precise conduct for which [CHG is]

  charged,” any prejudice resulting from the admission of this evidence is not unfair prejudice.

  See U.S. v. Schneider, 594 F.3d 1219, 1227 (10th Cir. 2010) (“While the evidence is certainly

  prejudicial, it is not unfairly prejudicial.”).

  III.    CONCLUSION

          For the foregoing reasons, CHG’s Motion should be denied.




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 16, 2018, I filed a redacted version of the foregoing via

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